Case: 2:18-cv-01320-EAS-KAJ Doc #: 171 Filed: 10/14/21 Page: 1 of 2 PAGEID #: 13645




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

  IN RE: DAVOL, INC./C.R. BARD,
                                                      Case No. 2:18-md-2846
  INC., POLYPROPYLENE HERNIA
  MESH PRODUCTS LIABILITY
  LITIGATION
                                                      JUDGE EDMUND A. SARGUS, JR.
                                                      Magistrate Judge Kimberly A. Jolson

  This document relates to:
  Milanesi et al. v. C.R. Bard, et al.
  Case No. 2:18-cv-01320
                        CASE MANAGEMENT ORDER NO. 30

        On October 13, 2021, a case management conference was held in this multidistrict

litigation.      This order memorializes developments in the second bellwether case,

Milanesi, et al. v. C.R. Bard, Inc. et al.

        Pursuant to Case Management Order No. 29-A, trial is set to begin on January 10,

2022. The trial, excluding time spent on jury deliberations, will last for 15 days with

testimony taken 6 hours per day. That time will be divided as follows:

    •   One full day, or 6 hours, will be reserved for voir dire and preliminary jury instructions.

    •   One half day, or 3 hours, will be reserved for opening arguments.

    •   The Plaintiffs and the Defendants will each have 6.25 days, or 37.5 hours, to present their

        cases, for a total of 12.5 days, or 75 hours. Each side’s time includes the presentation of

        testimony and any time spent cross-examining the other side’s witnesses. Time spent on

        objections, unless otherwise noted, will not count against either side’s time.

    •   One half day, or 3 hours, will be reserved for closing arguments with each side allowed 1.5

        hours.

    •   One half day, or 3 hours, will be reserved for jury instructions.

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Case: 2:18-cv-01320-EAS-KAJ Doc #: 171 Filed: 10/14/21 Page: 2 of 2 PAGEID #: 13646




The first week of trial, the week of January 10, 2022, will consist of 5 days of trial, or

Monday through Friday. In the following weeks trial will be held Monday through

Thursday, for a total of 4 trial days each week.

       No further case management conferences will be held prior to the final pretrial

conferences scheduled for November 30, 2021, and December 1, 2021. Any outstanding

issues will be addressed at the first final pretrial conference on November 30, 2021.

       IT IS SO ORDERED.


10/14/2021                               s/Edmund A. Sargus, Jr.
DATE                                     EDMUND A. SARGUS, JR.
                                         UNITED STATES DISTRICT JUDGE




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